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                                  IPP International U.G. Declaration Exhibit A
                                    File Hashes for IP Address 67.175.68.184

ISP: Comcast Cable Communications Management, LLC
Physical Location: Northbrook, IL



Hit Date UTC          File Hash                                           Title
04/06/2018 05:25:15   52E3AFBD6E5042A15B7BAFECFD7326325A333AD7            Clear Wet Dream

04/02/2018 02:16:40   E8E5BAD12BA5B6F8C78753C73B91D840695C52F1            Wine Makes Me Anal

03/25/2018 02:16:22   ECA934BB8B60DEC00B4ECD9EA09B894FFFC17C13            Stripshow Sex

02/13/2018 05:36:42   463F73D49530FC53A05A7D4AC405F14CDB3FF5C9            Watch Me Cum For You

01/29/2018 03:50:33   6C36E5B1C36D11BD2D4A288ADD223F342AFE2A7D            X Marks The Spot


Total Statutory Claims Against Defendant: 5




                                                  EXHIBIT A
NIL885
